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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                             Judge William J. Martínez

Criminal Case No. 16-cr-301-WJM

UNITED STATES OF AMERICA,

      Plaintiff,

v.

1.    WILLIAM J. SEARS,

      Defendant.


                    ORDER DENYING MOTION TO RECONSIDER


      Defendant William J. Sears (“Sears”) pleaded guilty in November 2016 to one

count of conspiracy to defraud the United States (18 U.S.C. § 371) and one count of

filing a false income tax return (26 U.S.C. § 7206(1)). (ECF Nos. 41, 48, 84.) His

sentencing has been postponed pending his opportunity to testify in the Government’s

case against Guy Jean-Pierre, a co-conspirator who, for procedural reasons not

relevant here, was charged in a separate criminal action. (See Criminal Case No. 17-

cr-008-WJM.) Jean-Pierre went to trial before the undersigned in January 2019, and

Sears testified at the trial, as expected. The Court then set Sears’s sentencing hearing

for July 11, 2019, which has since been continued to October 31, 2019.

      On May 4, 2019, Sears filed a Motion to Withdraw Plea of Guilty. (ECF No. 139.)

The Court denied that motion on May 22, 2019. (ECF No. 150.) On August 1, 2019,

Sears filed a Motion for Reconsideration (ECF No. 173), which is currently before the

Court. The Court’s analysis below presumes familiarity with its May 22, 2019 order.
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       In a criminal case,

              [a] motion to reconsider may be granted when the court has
              misapprehended the facts, a party’s position, or the law.
              Specific grounds include: (1) an intervening change in the
              controlling law, (2) new evidence previously unavailable, and
              (3) the need to correct clear error or prevent manifest
              injustice. A motion to reconsider should not be used to
              revisit issues already addressed or advance arguments that
              could have been raised earlier.

United States v. Christy, 739 F.3d 534, 539 (10th Cir. 2014) (internal quotation marks

and citations omitted).

       Sears first argues that the Court has misapprehended the law, “imposing a

burden on [him] to not just raise arguments in favor of innocence, but to convince the

Court of his innocence.” (ECF No. 173 ¶ 5.) The Court imposed no such burden.

Sears’s motion seemed to presume that he could simply claim innocence and that

would be enough. The Court thus found that Sears had not justified his motion

because, among other reasons, he had offered only “bare assertions of innocence with

no support, and no explanation of why [he had] gone back on [his] sworn testimony [at

the change-of-plea hearing].” (ECF No. 150 at 8.)

       Sears next attacks the Court’s reliance on his change-of-plea testimony:

              Of the multi-pages of alleged activities recited in the plea
              agreement, the only one that Mr. Sears acknowledged, in
              the colloquy, was his involvement in the creation of a
              convertible promissory note that was backdated.

                                           ***

              . . . Sears never agreed he was guilty of the entire crime as
              presented by the government in the plea agreement.

                                           ***

              [B]ackdating of the convertible notes was not an illegal act
              ....


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               The colloquy with Mr. Sears during the change of plea
               hearing reveals that he admitted only to a very narrow slice
               of the facts the government alleged against him.

(ECF No. 173 ¶¶ 7, 9, 11–12.) To the contrary, Sears acknowledged that he had read

all of the facts alleged in the plea agreement and that there was no inaccuracy. (See

ECF No. 150 at 3–4.) In addition, there is no requirement that the Court obtain the

defendant’s verbal description of his or her incriminating actions, and therefore no

requirement that the Court’s colloquy or the defendant’s resulting narrative embrace

every criminal act alleged by the Government. 1

       Sears’s third argument for reconsideration is that the Court misapprehended his

assertion of innocence:

               [H]e is arguing that he did not have the mens rea to agree to
               violate the law and to engage in an overt act furthering the
               objective of the conspiracy. This is because he has claimed
               throughout, as noted by the footnotes in the plea agreement,
               that he was acting with advice of counsel and because of
               that advice he lacked the mens rea to violate the conspiracy
               statute.

(ECF No. 173 ¶ 10.) Sears never made this argument in his original motion so the

Court could not have misapprehended it. But the argument is self-defeating in any

event. The plea agreement indeed contains many footnotes explaining Sears’s position

about the advice of counsel he received and evidence in that regard that he would

introduce at a trial. (See ECF No. 41 at 15 n.5, 17 n.8, 22 n.15, 24 n.18; ECF No. 42 at

1 n.20, 6 n.25.) And yet Sears still signed the plea agreement and pleaded guilty.

Perhaps he regrets that now, but he cannot claim that he was not well-informed at the

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          If Sears means to say that he admitted only one criminal violation because that is the
only violation he subjectively believed the Government could have proved, he has never before
expressed that subjective belief. To testify in a change-of-plea hearing with his fingers crossed,
so to speak, is a violation of the oath to testify truthfully.


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relevant time.

       Sears’s fourth argument is that the Court misapprehended the significance of his

discovery that Agent Funk is not authorized under Kansas law to hold herself out as a

CPA, and that her representation of herself as such in search warrant affidavits calls

into question “the integrity of the prosecution.” (ECF No. 173 ¶¶ 14–17.) But this is no

more than a more emphatic re-urging of a prior argument that the Court rejected. Also,

as the Court previously explained, Agent Funk is a CPA and the only question is the

context in which she can hold herself out as such under the laws of her regulating

jurisdiction, Kansas. (ECF No. 150 at 10.) As the Court further explained, even if Agent

Funk should not have represented to the magistrate judge in a warrant affidavit that she

is a CPA, the question in any motion to suppress that warrant would be whether it would

have mattered to the magistrate judge—whether the “CPA” designation was materially

misleading and whether its removal from the warrant affidavit would have destroyed

probable cause. (Id. at 11, 15.) Moreover, the Court noted that Sears had not identified

any alleged accounting errors that Agent Funk had committed. (Id. at 17 n.8.) Sears’s

Motion for Reconsideration still does not identify any such errors.

       Finally, Sears re-urges his argument that it should have been disclosed to him,

before he pleaded guilty, that former AUSA Harmon was friends with Mr. Lehrer, who

had provided similar opinion letters as Mr. Jean-Pierre, but who was not charged. (ECF

No. 173 ¶¶ 18–21.) Sears raises nothing in this respect that he did not or could not

have previously raised. His assertion that he could subpoena Mr. Lehrer for trial (id.

¶ 21) was as true before he pleaded guilty as now. (See ECF No. 150 at 13 (“[T]he only

thing about Mr. Lehrer that Sears did not know at the time of his decision to accept a



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plea deal was Mr. Lehrer’s relationship with Mr. Harmon. Sears knew beforehand that

Mr. Lehrer was not being prosecuted, that Mr. Harmon had no intent to prosecute

Mr. Lehrer, and that Mr. Lehrer had offered testimony in an SEC proceeding that Sears

considered false.” (emphasis in original; citation omitted)).

       For the reasons set forth above, Sears’s Motion for Reconsideration (ECF No.

173) is DENIED.


       Dated this 30th day of September, 2019.

                                                  BY THE COURT:



                                                  ______________________
                                                  William J. Martinez
                                                  United States District Judge




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